         4:03-cr-03014-RGK-CRZ                      Doc # 417           Filed: 11/03/08       Page 1 of 1 - Page ID # 1588


AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                              IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                                 )            4:03CR3014-5
           Plaintiff,                                                     )
                                                                          )
v.                                                                        )   USM No: 18186-047
                                                                          )
CHRISTOPHER A. GANT.                                                      )   DAVID R. STICKMAN
                Defendant.                                                )   Defendant’s Attorney
Date of previous judgments: 11/4/2003 & 1/19/2005                         )

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed
based on a guideline sentencing range that has subsequently been lowered and made retroactive by the United States
Sentencing Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion,

IT IS ORDERED that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment (as
reflected in the last judgment issued) of 76 months is reduced to 62 months.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
     Previous Offense Level:    33                                      Amended Offense Level:       31
     Criminal History Category: VI                                      Criminal History Category:   VI
     Previous Guideline Range: 235              to 293         months   Amended Guideline Range:     188    to 235   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
        The reduced sentence is within the amended guideline range.
       The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
        time of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less
        than the amended guideline range.

        Other (explain):

III. ADDITIONAL COMMENTS

Except as provided above, all provisions of the judgments dated November 4, 2003 and January 19, 2005 shall remain in
effect. Filings 406 and 411 are granted as provided herein. My thanks to counsel for their excellent briefs.

IT IS SO ORDERED.

Dated this 3rd day of November, 2008
Effective Date: Monday, November 3, 2008

                                                               S/Richard G. Kopf
                                                               United States District Judge
